Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 1 of 8 PageID #:310
Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 2 of 8 PageID #:311
Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 3 of 8 PageID #:312
Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 4 of 8 PageID #:313
Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 5 of 8 PageID #:314
Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 6 of 8 PageID #:315
Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 7 of 8 PageID #:316
Case: 1:02-cr-00678 Document #: 76 Filed: 07/18/03 Page 8 of 8 PageID #:317
